     Case 1:24-cv-04407-SEG      Document 132      Filed 12/03/24   Page 1 of 3




                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

In re: Bio-Lab Class Actions                    CIVIL ACTION FILE No.
                                                  1:24-CV-4407-SEG


               ORDER LIFTING RESTRICTIONS ON MEDIA

      Certain counsel seek an order permitting the use of portable computers,

cellular telephones, pagers and personal communication devices without cameras,

and electronic devices equipped with cameras, including cellular telephones,

personal digital assistances and laptop computers, to be allowed into the courthouse

and used in the courtroom on December 5, 2024 at 10:00 A.M. in Courtroom 2306,

2388 Richard B. Russell Federal Building and United States Courthouse, 75 Ted

Turner Drive, S.W., Atlanta, Georgia 30303-3309. Accordingly:

      1.    Counsel may use portable computers, cellular telephones, and personal

communication devices without cameras, and electronic devices equipped with

cameras, including cellular telephones, personal digital assistances and laptop

computers, to aid their presentation of evidence or perpetuation of the record, in

accordance with the purposes of Local Rule 83.4.

      2.    Specifically, the following attorneys are permitted to bring electronic

devices, including one each of cellular telephones, a portable computer and an
        Case 1:24-cv-04407-SEG    Document 132     Filed 12/03/24   Page 2 of 3




electronic tablet computer (such as an iPad), to Courtroom 2306 on December 5,

2024:

       Roy E. Barnes
       James Bilsborrow
       M.J. Blakely
       Michael A. Caplan
       Jason Carter
       Mark P. Chalos
       Christopher L. Coffin
       Michael L. Eber
       Felicia H. Ellsworth
       Daniel Rock Flynn
       MaryBeth V. Gibson
       Jean Sutton Martin
       Roger Orlando
       Frank Petosa
       Serena Premjee
       Rene Rocha
       Alan E. Schoenfeld
       L. Chris Stewart
       James Gerard Stranch
       Lynn Toops
       J. Cameron Tribble
       Jane D. “Danny” Vincent

        3.    Counsel are prohibited from taking photographs or operating recording

devices during courtroom proceedings. Counsel shall not take photographs, operate

tape recorders, or otherwise record electronically any proceeding or other occurrence

in the courthouse or courtrooms described above.

        4.    Counsel shall not operate any device outlined above in any public area

where their operation is disruptive of any court proceeding.
     Case 1:24-cv-04407-SEG   Document 132   Filed 12/03/24   Page 3 of 3




IT IS SO ORDERED, this 3rd day of December, 2024.



                                  __________________________
                                  Sarah E. Geraghty
                                  United States District Judge
